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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                         )
LILIAN PAHOLA CALDERON JIMENEZ, )
and LUIS GORDILLO, et al.,               )
                                         )
Individually and on behalf of all others )
similarly situated,                      )
                                         )         No. 1:18-cv-10225-MLW
                Plaintiffs-Petitioners,  )
                                         )
        v.                               )
                                         )
CHAD WOLF, et al.,                       )
                                         )
                Defendants-Respondents.  )
                                         )

                   ASSENTED-TO MOTION TO EXTEND DEADLINES

       Given the ongoing document productions, settlement discussions, and the health crisis

due to COVID-19, the parties respectfully request that the Court extend the deadlines set forth in

this Court’s February 7, 2020 Scheduling Order, Dkt. No. 485, as follows:

                                   Scheduling Order, Dkt. No. 485           Proposed Deadline

 Deadline to file amended
                                              May 1, 2020                     June 30, 2020
 pleadings
 Deadline to respond to
                                             May 29, 3030                      July 31, 2020
 amended pleadings
 Close of fact discovery                      June 5, 2020                    August 7, 2020
 Joint report as to the
 prospects for settlement and                 June (TBD)                      August (TBD)
 summary judgment motions
 Settlement report and status
 conference regarding Rule 56                 June (TBD)                      August (TBD)
 motions
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       The parties do not believe that a status conference is necessary at this time. In addition to

the above deadlines, Petitioners agree to serve their Second Set of Request for Production by

June 1, 2020.

       Respectfully submitted this 1st day of May, 2020.




                                                     /s/ Matthew W. Costello

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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), counsel for Petitioners conferred

with counsel for Respondents on May 1, 2020 in an attempt to resolve the issues raised in this

motion. Respondents assent to this motion.


                                             /s/ Matthew W. Costello




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